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 8                                   UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

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11    DIANE K. GODFREY,                                No. 2:19-cv-00861-TLN-KJN
12                      Plaintiff,
13           v.                                        ORDER DENYING PLAINTIFF’S
                                                       MOTION FOR TEMPORARY
14    SACRAMENTO COUNTY SHERIFF’S                      RESTRAINING ORDER
      DEPARTMENT, et. al,
15                 Defendants.
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18          This matter is before the Court pursuant to Plaintiff, Diane K. Godfrey’s (“Plaintiff”)
19   Motion for Temporary Restraining Order (“TRO”). (ECF No. 6.) For the reasons discussed
20   below, Plaintiff’s motion is DENIED.
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 1            I.     FACTUAL AND PROCEDURAL BACKGROUND

 2            Plaintiff filed a lawsuit on May 14, 2019, against Defendants Sacramento County

 3   Sheriff’s Department, Deputy Spencer J. Wright, Deputy Does 1 through 10, the Federal Bureau

 4   of Investigation (“FBI”), FBI Director Christopher A. Wray, Doe Security Service, the County of

 5   Sacramento, and Sacramento County Sheriff Scott Jones. (ECF No. 1.) Plaintiff alleges that on

 6   January 25, 2005, Plaintiff reported an ongoing criminal conspiracy to the United States Attorney

 7   in Oakland, California, which is now under investigation by the Defendant FBI. (ECF No. 1 ¶

 8   13.) Plaintiff alleges that in retaliation for reporting the criminal conspiracy, individuals were

 9   hired to harass Plaintiff. (ECF No. 1 ¶ 15.) The individuals who hired the people to harass

10   Plaintiff allegedly had knowledge of the criminal conspiracy and were forced to cooperate with

11   law enforcement officials as a result of the FBI investigation. (ECF No. 1 ¶ 15.) Plaintiff alleges

12   the retaliation took place from “July 7, 2018, through October 9, 2019”, and was comprised of an

13   intruder or intruders continuously trespassing through Plaintiff’s property. (ECF No. 1 ¶ 14.)

14   The intrusions allegedly consisted of making noise in both the front and back of the property,

15   knocking and banging on Plaintiff’s front door and bedroom window, and using an “x-ray

16   flashlight” to spy on Plaintiff in the privacy of her bedroom. (ECF No. 1 ¶ 14.)

17            On July 16, 2018, Plaintiff allegedly reported these intrusions to Defendant FBI and

18   Defendant Sacramento County Sheriff’s Department. (ECF No. 1 ¶ 16.) On October 9, 2018,

19   Plaintiff alleges she was the victim of an attempted murder while residing in her apartment. (ECF

20   No. 1 ¶ 17.) Plaintiff believes the individual who committed the attempted murder was the same
21   individual, or one of the individuals, who had been harassing her. (ECF No. 1 ¶ 17.) On October

22   9, 2018, via letter, Plaintiff reported these crimes to Defendant FBI and Defendant Sacramento

23   County Sheriff’s Department. (ECF No. 1 ¶ 18.) Plaintiff alleges that pursuant to her rights as a

24   crime victim, Plaintiff requested she be provided with security guards to protect her. (ECF No. 1

25   ¶ 18.)

26            Plaintiff alleges that Defendant Sacramento County Sheriff’s Department began providing
27   security services soon after Plaintiff requested security guards. (ECF No. 1 ¶ 19.) Plaintiff

28   alleges that beginning on January 1, 2019, Defendant Wright used an “x-ray flashlight” to peer
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 1   into Plaintiff’s bedroom at all hours of the night, and because of this, Plaintiff began having

 2   difficulty sleeping. (ECF No. 1 ¶ 20.) Plaintiff also alleges that after January 1, 2019,

 3   Defendants, while providing security, would bang on her front door. (ECF No. 1 ¶ 21.) Plaintiff

 4   further alleges Defendants, on their nightly visits to Plaintiff’s property “through the use of the x-

 5   ray flashlight, . . . repeatedly . . . projected images on the walls or ceilings of [P]laintiff’s

 6   bedroom during nighttime hours” of “animated images of Halloween type characters (e.g.,

 7   pumpkin heads, death masks),” and further alleges that Defendants “themselves wore costumes

 8   with masks, disrupting or preventing [P]laintiff’s sleep.” (ECF No. 1 ¶ 22.) Plaintiff next states

 9   that Defendant Wright created a “‘virtual window’ in the ceiling of [P]laintiff’s bedroom . . . and

10   took an unauthorized photograph of [P]laintiff while in her bed.” (ECF No. 1 ¶ 23.)

11           Plaintiff brings seven causes of action: (1) deprivation of rights in violation of 42 U.S.C. §

12   1983, for invasion of privacy against local officers (ECF No. 1 at 4); (2) deprivation of rights in

13   violation of 42 U.S.C. § 1983, for invasion of privacy against Defendant County of Sacramento,

14   Defendant Sheriff Scott Jones, Defendant Sacramento County Sheriff’s Department, and Doe

15   Defendants (ECF No. 1 at 10); (3) retaliation for pursuit of legal rights in violation of 42 U.S.C.

16   1983 against Defendant Sacramento County Sheriff’s Department and Defendant Wright (ECF

17   No. 1 at 12); (4) abatement of private nuisance in violation of Sacramento County Code §

18   6.68.150 and Cal. Civ. Code § 3481 against all Defendants (ECF No. 1 at 14); (5) abatement of

19   public nuisance against all Defendants (ECF No. 1 at 17); (6) invasion of privacy against all

20   Defendants (ECF No. 1 at 17); (7) abatement of private nuisance for use of “x-ray flashlight”
21   against all Defendants (ECF No. 1 at 19).

22           II.     STANDARD OF LAW

23           A temporary restraining order is an extraordinary and temporary “fix” that the court may

24   issue without notice to the adverse party if, in an affidavit or verified complaint, the movant

25   “clearly show[s] that immediate and irreparable injury, loss, or damage will result to the movant

26   before the adverse party can be heard in opposition.” Fed. R. Civ. P. 65(b)(1)(A). The purpose
27   of a temporary restraining order is to preserve the status quo pending a fuller hearing. See Fed. R.

28   Civ. P. 65. It is the practice of this district to construe a motion for temporary restraining order as
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 1   a motion for preliminary injunction. Local Rule 231(a); see also Aiello v. One West Bank, No.

 2   2:10-cv-0227- GEB-EFB, 2010 WL 406092 at *1 (E.D. Cal. Jan. 29, 2010) (“Temporary

 3   restraining orders are governed by the same standard applicable to preliminary injunctions.”)

 4   (internal quotation and citations omitted).

 5           Injunctive relief is “an extraordinary remedy that may only be awarded upon a clear

 6   showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council, Inc., 555

 7   U.S. 7, 22 (2008) (citing Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam)). “The

 8   purpose of a preliminary injunction is merely to preserve the relative positions of the parties until

 9   a trial on the merits can be held.” University of Texas v. Camenisch, 451 U.S. 390, 395 (1981)

10   (emphasis added); see also Costa Mesa City Employee’s Assn. v. City of Costa Mesa, 209 Cal.

11   App. 4th 298, 305 (2012) (“The purpose of such an order is to preserve the status quo until a final

12   determination following a trial.”) (internal quotation marks omitted); GoTo.com, Inc. v. Walt

13   Disney, Co., 202 F.3d 1199, 1210 (9th Cir. 2000) (“The status quo ante litem refers not simply to

14   any situation before the filing of a lawsuit, but instead to the last uncontested status which

15   preceded the pending controversy.”) (internal quotation marks omitted). In cases where the

16   movant seeks to alter the status quo, preliminary injunction is disfavored and a higher level of

17   scrutiny must apply. Schrier v. University of Co., 427 F.3d 1253, 1259 (10th Cir. 2005).

18   Preliminary injunction is not automatically denied simply because the movant seeks to alter the

19   status quo, but instead the movant must meet heightened scrutiny. Tom Doherty Associates, Inc.

20   v. Saban Entertainment, Inc., 60 F.3d 27, 33–34 (2d Cir. 1995).
21           “A plaintiff seeking a preliminary injunction must establish [1] that he is likely to succeed

22   on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary relief,

23   [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public interest.”

24   Winter, 555 U.S. at 20. A plaintiff must “make a showing on all four prongs” of the Winter test

25   to obtain a preliminary injunction. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135

26   (9th Cir. 2011). In evaluating a plaintiff's motion for preliminary injunction, a district court may
27   weigh the plaintiff's showings on the Winter elements using a sliding-scale approach. Id. A

28   stronger showing on the balance of the hardships may support issuing a preliminary injunction
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 1   even where the plaintiff shows that there are “serious questions on the merits...so long as the

 2   plaintiff also shows that there is a likelihood of irreparable injury and that the injunction is in the

 3   public interest.” Id. Simply put, Plaintiff must demonstrate, “that [if] serious questions going to

 4   the merits were raised [then] the balance of hardships [must] tip[ ] sharply in the plaintiff's favor,”

 5   in order to succeed in a request for preliminary injunction. Id. at 1134–35 (emphasis added).

 6              III.   ANALYSIS

 7              The party moving for a temporary restraining order must clearly show, in an affidavit or

 8   verified complaint, “that immediate and irreparable injury, loss, or damage will result to the

 9   movant before the adverse party can be heard in opposition.” Fed. R. Civ. P. 65(b)(1)(A). This

10   District’s Local Rules impose additional requirements for a temporary restraining order. Under

11   Local Rule 231, “courts will consider whether the applicant could have sought relief by motion

12   for preliminary injunction at an earlier date without the necessity for seeking last-minute relief by

13   motion for temporary restraining order.” L. R. 231(b). The rule continues, “[s]hould the Court

14   find that the applicant unduly delayed in seeking injunctive relief, the Court may conclude that

15   the delay constitutes laches or contradicts the applicant’s allegations of irreparable injury and may

16   deny the motion solely on either ground.” L. R. 231(b).

17              Over four months passed between the first alleged signs of harassment and Plaintiff’s

18   filing of this lawsuit. (See ECF No. 6-2 at 18 (describing the alleged harassment as “[b]eginning

19   sometime in early January[] 2019”).) The Court concludes that the length of time between the

20   first instance of alleged harm and Plaintiff’s motion contradicts Plaintiff’s allegation of
21   immediate, irreparable injury. If the Court finds that Plaintiff has not met its burden as to one

22   Winter prong, then the Court need not address the remaining prongs as Plaintiff has not met its

23   burden for injunctive relief. See Alliance for the Wild Rockies, 632 F.3d at 1135 (stating that the

24   Winter test requires a plaintiff to “make a showing on all four prongs”). The Court finds Plaintiff

25   has failed to make a showing of irreparable injury and declines to address the remaining Winter

26   factors.
27              Moreover, it is the practice of this district to construe a motion for temporary restraining

28   order as a motion for preliminary injunction. Local Rule 231(a); see also Aiello v. One West
                                                           5
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 1   Bank, No. 2:10–cv–0227–GEB–EFB, 2010 WL 406092 at *1 (E.D. Cal. Jan. 29, 2010)

 2   (“Temporary restraining orders are governed by the same standard applicable to preliminary

 3   injunctions.”) (internal quotation and citations omitted). Denial of the instant TRO motion has no

 4   bearing on the Court’s ultimate analysis of Plaintiff’s claims, once it has heard from Defendants.

 5   Plaintiff has not cited any persuasive reason why this Court should rule on a motion for a

 6   temporary restraining order before Defendants have had an opportunity to respond. Thus, the

 7   Court will treat Plaintiff’s motion for a temporary restraining order as a motion for preliminary

 8   injunction so Defendants may have the opportunity to respond. Accordingly, the application for

 9   a temporary restraining order (ECF No. 6) is DENIED, and the Court will consider a motion for

10   preliminary injunction once Defendants have an opportunity to respond.

11          IV.     CONCLUSION

12          For the foregoing reasons, the Court DENIES Plaintiff’s motion for a temporary

13   restraining order and will consider the motion a motion for a preliminary injunction (ECF No. 6).

14   Plaintiff shall serve Defendants with a copy of this Order within 3 days of the date of this Order

15   and submit proof of service to the Court. Fed. R. Civ. P. 65(a)(1) (“The court may issue a

16   preliminary injunction only on notice to the adverse party.”). The Court hereby schedules the

17   motion hearing for 10:00 a.m. on July 18, 2019, before the magistrate judge. For the parties’

18   convenience, the Court notes that under Local Rule 230, any opposition or statement of non-

19   opposition from Defendants must be filed and served no later than 14 days before the noticed

20   hearing date, and any reply by Plaintiff must be filed and served no later than seven days before
21   that date. L. R. 230(c)–(d).

22          IT IS SO ORDERED.

23   Dated: June 12, 2019

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                                     Troy L. Nunley
26
                                     United States District Judge
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